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       September 29, 2021

       Via ECF & Email
       Honorable Cathy Seibel, U.S.D.J.
       Southern District of New York
       300 Quarropas Street
       White Plains, NY 10601

       Re:     McClain v. AutoExpo Ent. Inc., et al., 20-CV-5054 (CS)

       Dear Judge Seibel:

       My office, together with co-counsel, represents the plaintiff, Nikkia McClain, in the
       above-referenced action.

       I am writing on behalf of all remaining parties to request that the status conference
       scheduled for October 4, 2021 be continued to after October 26, 2021. I am making
       this request because the parties held a settlement conference on September 22,
       2021, but ran out of time before discussions were concluded. The settlement
       conference was continued to October 26, 2021. In the interests of judicial economy,
       the parties request a new conference-date to take place after October 26, 2021.

       Respectfully,

       /s/ Brian L. Bromberg
       Brian L. Bromberg

       cc:     All Counsel of Record (Via ECF)
